   Case 1:21-cv-00445-CJN-MAU Document 202-1 Filed 11/15/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

             Plaintiffs/Counter-Defendants,

      v.
                                                  Civil Action No. 1:21-cv-00040 (CJN)
SIDNEY POWELL, et al.,

             Defendants/Counter-Plaintiffs.




US DOMINION, INC., et al.,
             Plaintiffs,

      v.
                                                  Civil Action No. 1:21-cv-00213 (CJN)
RUDOLPH W. GIULIANI,
            Defendant.




US DOMINION, INC., et al.,
           Plaintiffs/Counter-Defendants,
      v.

MY PILLOW, INC., et al.,                          Civil Action No. 1:21-cv-00445 (CJN)
           Defendants/ Counter- and Third-
           Party Plaintiffs,
      v.

SMARTMATIC USA CORP., et al.,
           Third-Party Defendants.




                                              1
    Case 1:21-cv-00445-CJN-MAU Document 202-1 Filed 11/15/23 Page 2 of 3




 US DOMINION, INC., et al.,
           Plaintiffs,

        v.

 PATRICK BYRNE,                                      Civil Action No. 1:21-cv-02131 (CJN)

               Defendant.



 US DOMINION, INC., et al.,
              Plaintiffs/Counter-Defendants,

        v.
                                                     Civil Action No. 1:21-cv-02130 (CJN)
 HERRING NETWORKS, INC. et al.,
              Defendants/ Counter- and
              Third-Party Plaintiffs,
        v.

 AT&T SERVICES, et al.,
           Third-Party Defendants.




      [PROPOSED] ORDER DENYING DEFENDANTS OAN, BOBB, POWELL,
     POWELL, P.C., BYRNE, AND LINDELL’S MOTIONS FOR ENTRY OF FACT
                     WITNESS DEPOSITION PROTOCOL

       Upon consideration of Defendant Herring Networks, Inc., d/b/a One America News

Network et al.’s Motion for Entry of Opposed Deposition Protocol [Dkt. 152 in Case No. 1:21-cv-

02130-CJN], Defendant Christina Bobb’s Motion for Order Entering Defendants’ Joint Proposed

Deposition Protocol [Dkt. 153 in Case 1:21-cv02130-CJN], Powell Defendants’ Motion for Order

Adopting Deposition Protocol Jointly Proposed by Defendants [Dkt. 113 in Case 1:21-cv-00040-

CJN], Defendant Patrick Byrne’s Motion for Entry of An Order Adopting the Deposition Protocol

Proposed by All Defendants [Dkt. 69 in Case No. 1:21-cv-02131-CJN], and Defendants My
                                               2
    Case 1:21-cv-00445-CJN-MAU Document 202-1 Filed 11/15/23 Page 3 of 3




Pillow, Inc. and Michael Lindell’s Notice of Joinder [Dkt. 201 in Case 1:21-cv-00445-CJN],

considering all oppositions, related motions by any other parties, argument, and the entire record,

it is hereby ORDERED that the Defendants’ Motions are DENIED.

       It is further ORDERED that Dominion’s Proposed Order on Fact Witness Deposition

Protocol [Dkt. 114-2 in Case No. 1:21-cv-00040-CJN], including all exhibits thereto, is

ENTERED.

       It is SO ORDERED.




Signed this ___ day of ________________, 2023.
                                                            ______________________________
                                                            CARL J. NICHOLS
                                                            United States District Court Judge




                                               3
